Case 2:05-CV-02526-SHI\/|-tmp Document 6 Filed 08/24/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT F "ED m »`Y--- °-c-
FOR THE WESTERN DISTRICT OF TENNESSEE 05 AUG 214 AH log 03

 

WESTERN DIVISION
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LINDA MURRAY and CLEHK ‘»j;':`,» .D!f:§?§$C,TWOOURI
ARTHUR MURRAY, WFD w ~-.»_:»-t,‘»ras
Plaintiffs,
v. No. 05-2526 Ma P

TRI-STATE BANK OF MEMPHIS and
CIGNA HEALTHCARE OF TENNESSEE, INC.,

Defendants.

 

ORDER GRANTING
MOTION FOR ENLARGEMENT OF TIME FOR
DEFENDANT TRI-STATE BANK OF MEMPHIS TO MOVE,
PLEAD OR OTHERWISE RESPOND TO COMPLAINT

 

IT APPEARS TO THE COURT that the Plaintiff and Defendant Tri-State Bank of
Memphis (“Tri-State”) consent and Stipulate that Tri-State may, at the Court’ s disoretion, be
granted until September 26, 2005 in Which to move, plead or otherwise respond to the
Complaint brought against it by Plaintiffs.

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U. S. T JUDGE

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DATE; Av§v.r\' '-'Z‘l_, aw§’

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with Ru!e 58 and/or 79(3) FRCP on _ _ _.:;__ _.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02526 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

